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 7 United States of America

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-190 GEB

12                                Plaintiff,            STIPULATION AND PROPOSED ORDER RE:
                                                        HEARING DATE
13                         v.

14   JOHN DICHIARA,

15                               Defendant.

16

17          The United States filed a motion for an order setting a deadline for the production of any expert

18 reports to the extent Defendant John DiChiara intends to present expert evidence of a mental condition

19 bearing on the issue of guilt. CR 142. The parties now stipulate to continue the hearing date on that

20 motion one week, until June 2, 2017.

21                                                           Respectfully submitted,

22 Dated: May 25, 2017                                       PHILLIP A. TALBERT
                                                             United States Attorney
23

24                                                   By: /s/ AUDREY B. HEMESATH
                                                         AUDREY B. HEMESATH
25                                                       JILL M. THOMAS
                                                         Assistant United States Attorney
26
27                                                           /s/ ROBERT WILSON
                                                             ROBERT WILSON
28                                                           Attorney for John DiChiara

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30
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 1                                               ORDER
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 3
                 The hearing date for the government’s motion (CR 142) is reset to June 2, 2017 at 9 am.
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     Dated: May 26, 2017
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